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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Senior Judge John L. Kane


Date: June 11, 2018                                   Deputy Clerk: Bernique Abiakam
                                                      Court Reporter: Terri Lindblom
Interpreters: Irina Kamensky
              Yuliya Fedasenka
              Muhitdin Ahunhodjaev
              Sanjar Babadjanov

Criminal Action No.:12-cr-00033-JLK-1

UNITED STATES OF AMERICA,                             Gregory A. Holloway
                                                      Julia K. Martinez

      Plaintiff,

v.

1.    JAMSHID MUHTOROV,                               Kathryn J. Stimson
                                                      Brian R. Leedy
                                                      Warren R. Williamson

      Defendant.


                               COURTROOM MINUTES

Jury Trial Day 13

9:06 a.m.     Court in session.

Court calls case. Appearances of counsel. Defendant present, in custody. Also
present, Special Agent Ken Harris.

Jury not present.

Interpreters sworn.

Comments by the Court regarding “Juror Question 1".

9:07 a.m.     Jury present.

The Court advises the Jury regarding “Juror Question 1".

9:09 a.m.     Defendant’s witness, Nargiza Muhtorova, called and sworn.

9:10 a.m.     Direct examination begins by Mr. Williamson.

Defendant’s Exhibits 713 and 713A, offered.
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No objection.

Defendant’s Exhibits 713 and 713A are ADMITTED.

9:26 a.m.           Continued direct examination by Mr. Williamson.

Defendant’s Exhibit 702A, offered. (translation of 702)

No objection.

Defendant’s Exhibit 702A is ADMITTED.

9:34 a.m.           Continued direct examination by Mr. Williamson.

10:14 a.m.          Court in recess.

10:40 a.m.          Court in session.

Jury present.

Continued direct examination by Mr. Williamson.

11:00 a.m.          Cross examination begins by Ms. Martinez.

11:17 a.m.          Witness excused.

11:18 a.m.          Defendant’s witness, Michael Andersen, called and sworn.
                    Direct examination begins by Mr. Williamson.

11:58 a.m.          Court in recess.

1:38 p.m.           Court in session.

Comments by Ms. Stimson regarding remaining witness schedule.

1:42 p.m.           Jury present.

Court advises the Jury regarding the remaining witness and trial schedule.

1:43 p.m.           Cross examination begins by Mr. Holloway.

Witness excused.

1:44 p.m.           Defendant’s witness, RuthAnn Kallenberg, called and sworn.

1:45 p.m.           Direct examination begins by Mr. Williamson.

2:13 p.m.           Cross examination begins by Ms. Martinez.


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2:14 p.m.           Witness excused.

2:15 p.m.           Defendant’s witness, Asil Muhtorov, called and sworn.

2:17 p.m.           Direct examination begins by Mr. Williamson.

2:51 p.m.           Cross examination begins by Mr. Holloway.

3:19 p.m.           Redirect examination by Mr. Williamson.

Defendant’s Exhibit 703A, offered. (translation of 703)

No objection.

Defendant’s Exhibit 703A is ADMITTED.

3:24 p.m.           Continued redirect examination by Mr. Williamson.

3:27 p.m.           Re-cross examination by Mr. Holloway.

3:34 p.m.           Witness excused.

The Court admonishes the Jury regarding any discussion and/or independent
research of the case.


ORDERED: Defendant is REMANDED to the custody of the United States Marshal for
         the District of Colorado.

3:35 p.m.     Court in recess.
Trial continued.
Time in court - 4 hours, 23 minutes.

After the Jury was excused one of the Jurors tendered a question, marked as “Juror
Question 2". The Court will advise the Jury tomorrow (6/12/2018).




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